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10
                        UNITED STATES DISTRICT COURT
11
                      CENTRAL DISTRICT OF CALIFORNIA
12
     FRENCH KNOT, LLC, a Massachusetts         Case No.:
13
     Limited Liability Company
14                                                PLAINTIFF’S COMPLAINT FOR:
     Plaintiff,
15                                                   1. COPYRIGHT
                                                        INFRINGEMENT;
16   v.
                                                     2. VICARIOUS AND/OR
17                                                      CONTRIBUTORY
     COLUMBIA SPORTSWEAR                                COPYRIGHT
18   COMPANY, individually and d/b/a                    INFRINGEMENT; AND
     “prAna,” an Oregon Corporation; PRANA
19                                                   3. VIOLATION OF THE
     LIVING, LLC, an Oregon Limited
20   Liability Company; APPLE SADDLERY                  DIGITAL MILLENNIUM
     INCORPORATED, a Canadian                           COPYRIGHT ACT
21                                                      (17 U.S.C. §1202)
     Corporation; BACKCOUNTRY.COM,
22   LLC, a Utah Limited Liability Company,
     individually and d/b/a                       Jury Trial Demanded
23
     “SteepAndCheap.com”; THE BENT
24   GATE, INC., individually and d/b/a
25
     “Bentgate.com,” a Colorado Corporation;
     CAMP SAVER, LLC, individually and
26   d/b/a “CampSaver.com,” a Utah Limited
27
     Liability Company; GEBO, INC.,
     individually and d/b/a “Element
28                                          -1-

                                         COMPLAINT
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 1
     Outfitters,” an Idaho Corporation; FL
     CROOKS & CO., a Pennsylvania
 2   Corporation; GAZELLE SPORTS, INC.,
 3   a Michigan Corporation; GETZ’S, INC., a
     Michigan Corporation; IBC BOUTIQUE,
 4   LLC, individually and d/b/a “Indigo Blues
 5   & Co.”, a New Hampshire Limited
     Liability Company; JANSCOM LLC,
 6   individually and d/b/a “Jans Mountain
 7   Outfitters” and “Jans.com”, a Utah
     Limited Liability Company; JONES
 8   ESTABLISHMENT, a Massachusetts
 9   business entity of form unknown;
     MOUNTAIN TOPS OUTFITTERS INC.,
10   a New York Corporation; OUTDOOR
11   GEAR EXCHANGE, INC., a Vermont
     Corporation; MEREDITH
12   CORPORATION, an Iowa corporation,
13   individually and d/b/a “Shape.com” and
     “More.com”;
14   SEATACCARSERVICE.NET, a Business
15   Entity of Form Unknown; SKIER’S
     PEAK, a Michigan Business Entity of
16   Unknown Form; SUNNYSPORTS LTD.,
17   a New York Corporation; FARM-WAY,
     INC., individually and d/b/a “Vermont
18   Gear”, a Vermont Corporation; ZAPPOS
19   IP, INC., a Nevada Corporation; and
     DOES 1 through 10,
20

21   Defendants.
22

23
           Plaintiff, FRENCH KNOT, LLC, (“FRENCH KNOT” or “Plaintiff”) by and
24
     through its undersigned attorneys, hereby prays to this honorable Court for relief
25
     based on the following:
26

27

28                                             -2-

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 1                                     INTRODUCTION
 2         Plaintiff is a designer whose original work has been misappropriated and
 3   copied without permission on Defendants’ branded apparel, which apparel was then
 4   marketed and sold to the public. This action is brought to address the widespread
 5   infringement of Plaintiff’s rights in its work.
 6                              JURISDICTION AND VENUE
 7         1. This action arises under the Copyright Act of 1976, Title 17 U.S.C., §§ 101
 8   et seq.
 9         2. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
10   1338 (a) and (b).
11         3. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
12   1400(a) in that this is the judicial district in which a substantial part of the acts and
13   omissions giving rise to the claims occurred.
14                                          PARTIES
15         4. Plaintiff FRENCH KNOT, LLC (“FRENCH KNOT”) is a limited liability
16   company organized and existing under the laws of the State of Massachusetts.
17         5. Plaintiff is informed and believes and thereon alleges that Defendant
18   COLUMBIA SPORTSWEAR COMPANY, individually and doing business as
19   “prAna” (“COLUMBIA”) is a corporation organized and existing under the laws of
20   the State of Oregon with its principal place of business located at 14375 NW Science
21   Park Drive, Portland, OR 97229, and is doing business in and with the State of

22   California.

23
           6. Plaintiff is informed and believes and thereon alleges that Defendant
     PRANA LIVING, LLC (“PRANA”) is a limited liability company organized and
24
     existing under the laws of the State of Oregon with its principal place of business
25
     located at 14375 NW Science Park Drive, Portland, OR 97229, and is doing business
26
     in and with the State of California.
27
           7. Plaintiff is informed and believes and thereon alleges that Defendant
28                                              -3-

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 1   APPLE SADDLERY INCORPORATED (“APPLE”) is a corporation organized and
 2   existing under the laws of Canada with its principal place of business located at 1875
 3   Innes Road, Ottawa, ON Canada K1B 4C6, and is doing business in and with the
 4   State of California.
 5         8. Plaintiff is informed and believes and thereon alleges that Defendant

 6   BACKCOUNTRY.COM, LLC, individually and d/b/a “SteepAndCheap.com”

 7
     (“BACKCOUNTRY”) is a limited liability company organized and existing under
     the laws of the State of Utah with its principal place of business located at 1678
 8
     Redstone Center, Suite 210 Park City, UT 84098 and is doing business in and with
 9
     the State of California.
10
           9. Plaintiff is informed and believes and thereon alleges that Defendant THE
11
     BENT GATE, INC., individually and d/b/a “Bentgate.com” (“BENTGATE”) is a
12
     corporation organized and existing under the laws of the State of Colorado with its
13
     principal place of business located at 1313 Washington Avenue, Golden, CO 80401
14
     and is doing business in and with the State of California.
15
           10.Plaintiff is informed and believes and thereon alleges that Defendant CAMP
16
     SAVER, LLC, individually and d/b/a “CampSaver.com,” (“CAMP SAVER”) is a
17
     limited liability company organized and existing under the laws of the State of Utah
18   with its principal place of business located at 2280 S Heritage Drive, Nibley, UT
19   84321 and is doing business in and with the State of California.
20         11.Plaintiff is informed and believes and thereon alleges that Defendant
21   GEBO, INC., individually and d/b/a “Element Outfitters” (“GEBO”) is a corporation
22   organized and existing under the laws of the State of Idaho with its principal place of
23   business located at 222 S 5th Street, Pocatello, Idaho 83201 and is doing business in
24   and with the State of California.
25         12.Plaintiff is informed and believes and thereon alleges that Defendant FL
26   CROOKS & CO. (“FL CROOKS”) is a corporation organized and existing under the
27   laws of the State of Pennsylvania with its principal place of business located at 539
28                                             -4-

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 1   Main Street, Clarion, PA 16214 and is doing business in and with the State of
 2   California.
 3         13.Plaintiff is informed and believes and thereon alleges that Defendant
 4   GAZELLE SPORTS, INC. (“GAZELLE”) is a corporation organized and existing
 5   under the laws of the State of Michigan with its principal place of business located at

 6   214 South Kalamazoo Mall Kalamazoo, MI 49007 and is doing business in and with

 7
     the State of California.
           14.Plaintiff is informed and believes and thereon alleges that Defendant
 8
     GETZ’S, INC. (“GETZ’S”) is a corporation organized and existing under the laws of
 9
     the State of Michigan with its principal place of business located at 218 South Front
10
     Street, Marquette, MI 49855 and is doing business in and with the State of
11
     California.
12
           15.Plaintiff is informed and believes and thereon alleges that Defendant IBC
13
     BOUTIQUE, LLC, individually and d/b/a “Indigo Blues & Co.” (“INDIGO”) is a
14
     limited liability company organized and existing under the laws of the State of New
15
     Hampshire with its principal place of business located at 902 Main Street,
16
     Contoocook, NH 03229 and is doing business in and with the State of California.
17
           16.Plaintiff is informed and believes and thereon alleges that Defendant
18   JANSCOM LLC, individually and d/b/a “Jans Mountain Outfitters” and “Jans.com”
19   (“JANS”) is a limited liability company organized and existing under the laws of the
20   State of Utah with its principal place of business located at 1790 Bonanza Drive,
21   Suite 275, Park City, Utah 84060 and is doing business in and with the State of
22   California.
23         17.Plaintiff is informed and believes and thereon alleges that Defendant
24   JONES ESTABLISHMENT (“JONES”) is a business entity of unknown form
25   organized and existing under the laws of the State of Massachusetts with its principal
26   place of business located at 199 Boylston St, Chestnut Hill, MA 02467 and is doing
27   business in and with the State of California.
28                                             -5-

                                           COMPLAINT
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 1         18.Plaintiff is informed and believes and thereon alleges that Defendant
 2   MOUNTAINTOPS OUTFITTERS INC. (“MOUNTAINTOPS”) is a corporation
 3   organized and existing under the laws of the State of New York with its principal
 4   place of business located at 144 Main Street, Beacon, NY 12508 and is doing
 5   business in and with the State of California.

 6         19.Plaintiff is informed and believes and thereon alleges that Defendant

 7
     OUTDOOR GEAR EXCHANGE, INC. (“OUTDOOR GEAR”) is a corporation
     organized and existing under the laws of the State of Vermont with its principal
 8
     place of business located at 37 Church Street, Burlington, VT 05401 and is doing
 9
     business in and with the State of California.
10
           20.Plaintiff is informed and believes and thereon alleges that Defendant
11
     MEREDITH CORPORATION, individually and d/b/a “Shape.com” and
12
     “More.com” (“MEREDITH”) is a corporation organized and existing under the laws
13
     of the State of Iowa with is principal place of business located at 1716 Locust Street,
14
     Des Moines, IA 50309 and is doing business in and with the State of California.
15
           21.Plaintiff is informed and believes and thereon alleges that Defendant
16
     SEATACCARSERVICE.NET (“SEATAC”) is a business entity of unknown form
17
     and is doing business in and with the State of California.
18         22.Plaintiff is informed and believes and thereon alleges that Defendant
19   SKIER’S PEAK (“SKIER”) is a business entity of unknown form with its principal
20   place of business located at 6565 Telegraph Road, Bloomfield Hills MI 48301 and is
21   doing business in and with the State of California.
22         23.Plaintiff is informed and believes and thereon alleges that Defendant
23   SUNNYSPORTS LTD. (“SUNNYSPORTS”) is a corporation organized and
24   existing under the laws of the State of New York with its principal place of business
25   located at 454 Ninth Avenue, New York, NY 10018 and is doing business in and
26   with the State of California.
27         24.Plaintiff is informed and believes and thereon alleges that Defendant
28                                             -6-

                                           COMPLAINT
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 1   FARM-WAY, INC., individually and doing business as “Vermont Gear” (“FARM-
 2   WAY”) is a corporation organized and existing under the laws of the State of
 3   Vermont with its principal place of business located at 286 Waits River Road,
 4   Bradford, VT 05033 and is doing business in and with the State of California.
 5        25.Plaintiff is informed and believes and thereon alleges that Defendant

 6   ZAPPOS IP, INC. (“ZAPPOS”) is a corporation organized and existing under the

 7
     laws of the State of Nevada with its principal place of business located at 400 E.
     Stewart Avenue, Las Vegas, NV 89101 and is doing business in and with the State of
 8
     California.
 9
          26.Plaintiff is informed and believes and thereon alleges that some of
10
     Defendants Does 1 through 3, inclusive, are manufacturers and/or vendors of product
11
     to Defendant, which Doe Defendants have manufactured and/or supplied and are
12
     manufacturing and/or supplying products incorporating Plaintiff’s copyrighted
13
     design (as hereinafter defined) without Plaintiff’s knowledge or consent or have
14
     contributed to said infringement. The true names, whether corporate, individual or
15
     otherwise of Defendants Does 1-3, inclusive, are presently unknown to Plaintiff,
16
     which therefore sues said Defendants by such fictitious names and will seek leave to
17
     amend this complaint to show their true names and capacities when same have been
18
     ascertained.
19
          27. Defendants Does 4 through 10, inclusive, are other parties not yet
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     identified who have infringed Plaintiff’s copyrights, have contributed to the
21
     infringement of Plaintiff’s copyrights, or have engaged in one or more of the
22
     wrongful practices alleged herein. The true names, whether corporate, individual or
23
     otherwise, of Defendants 4 through 10, inclusive, are presently unknown to Plaintiff,
24
     which therefore sues said Defendants by such fictitious names, and will seek leave to
25
     amend this Complaint to show their true names and capacities when same have been
26
     ascertained.
27

28                                            -7-

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 1         28. Plaintiff is informed and believes and thereon alleges that at all times
 2   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
 3   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
 4   at all times acting within the scope of such agency, affiliation, alter-ego relationship
 5   and/or employment; and actively participated in or subsequently ratified and
 6   adopted, or both, each and all of the acts or conduct alleged, with full knowledge of
 7   all the facts and circumstances, including, but not limited to, full knowledge of each
 8   and every violation of Plaintiff’s rights and the damages to Plaintiff proximately
 9   caused thereby.
10                          CLAIMS RELATED TO COZY IVY HAT
11         29. Prior to the conduct complained of herein, Plaintiff created an original hat
12   design for use in the fashion industry. It allocated this design Plaintiff’s Internal
13   Design Name Cozy Ivy Hat (“Subject Design”). This artwork and design was an
14   original creation of Plaintiff, and is, and at all relevant times was, owned in
15   exclusivity by Plaintiff.
16         30. Subsequent to Plaintiff’s creation of the Subject Design and registration of
17   same with the U.S. Copyright Office, Defendants, and each of them, began
18   developing, manufacturing, marketing, distributing, offering to sell, and selling
19   products that were blatant and unauthorized copies of the Subject Design
20   (“Infringing Product”).
21         31.True and correct images depicting the Subject Design and Infringing
22   Product are set forth below:
23

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27   ///
     ///
28                                              -8-

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                Subject Design:                       Infringing Product Exemplar:
 1
                     Hat                                           Hat
 2

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 8
 9                   Detail                                      Detail

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          32. Plaintiff owns a United States Copyright Registration covering the Subject
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     Design.
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          33. Prior to the acts complained of herein, Plaintiff marketed and sold product
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     incorporating Subject Design in the fashion and apparel industries.
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28                                             -9-

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 1         34. On information and belief it is alleged that PRANA directed its supplier to
 2   provide it with reproductions of the Subject Design and distributed said
 3   reproductions to the other Defendants, among others.
 4         35. Following this distribution of product bearing the Subject Design,
 5   Plaintiff’s investigation revealed that certain entities within the fashion and apparel
 6   industries had misappropriated Subject Design, and were selling product bearing
 7   illegal reproductions and/or derivations of Subject Design.
 8         36. Plaintiff is informed and believes and thereon alleges that, without
 9   Plaintiff’s authorization, COLUMBIA, PRANA, AMAZON, APPLE,
10   BACKCOUNTRY, BENTGATE, CAMP SAVER, GEBO, FL CROOKS,
11   GAZELLE, GETZ’S, INDIGO, JANS, JONES, MOUNTAINTOPS, OUTDOOR
12   GEAR, MEREDITH, SEATAC, SKIER, SUNNYSPORTS, FARM-WAY,
13   ZAPPOS, and others, including certain Doe defendants created, sold, manufactured,
14   caused to be manufactured, imported and/or distributed product incorporating
15   artwork identical to or substantially similar to Subject Design. Such product
16   includes, but are not limited to, the product set forth hereunder:
17               a. Product sold by COLUMBIA. An example of such Infringing
18                   Product is below:
        COLUMBIA Infringing Product Exemplar                         Detail
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 1              b. Product sold by AMAZON. An example of such Infringing Product
 2                 is below:
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11
                c. Product sold by APPLE. An example of such Infringing Product is
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                   below:
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19              d. Product sold by BACKCOUNTRY. An example of such Infringing
20                 Product is below:
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28                                         - 11 -

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 1              e. Product sold by BENTGATE. An example of such Infringing
 2                Product is below:
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                f. Product sold by CAMP SAVER. An example of such Infringing
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                  Product is below:
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                g. Product sold by GEBO. An example of such Infringing Product is
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                  below:
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28                                        - 12 -

                                       COMPLAINT
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 1              h. Product sold by FL CROOKS. An example of such Infringing
 2                   Product is below:
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11              i. Product sold by GAZELLE. An example of such Infringing Product
12                   is below:
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19              j.   Product sold by INDIGO. An example of such Infringing Product is
20                   below:
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28                                           - 13 -

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 1              k. Product sold by JANS. An example of such Infringing Product is
 2                 below:
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 9
                l. Product sold by JONES. An example of such Infringing Product is
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                   below:
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18              m. Product sold by MOUNTAINTOPS. An example of such Infringing

19                 Product is below:

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28                                        - 14 -

                                       COMPLAINT
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 1              n. Product sold by OUTDOOR GEAR. An example of such Infringing
 2                Product is below:
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                o. Product sold by MEREDITH. An example of such Infringing
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                  Product is below:
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21              p. Product s sold by SEATAC. An example of such Infringing Product
22                is below:
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28                                        - 15 -

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 1              q. Product sold by SKIER. An example of such Infringing Product is
 2                 below:
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                r. Product sold by SUNNY SPORTS. An example of such Infringing
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                   Product is below:
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                s. Product sold by FARM-WAY. An example of such Infringing
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                   Product is below:
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28                                        - 16 -

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 1               t. Product sold by ZAPPOS. An example of such Infringing Product is
 2                  below:
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          37. On information and belief it is alleged that PRANA, COLUMBIA, and/or
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     its supplier for the Infringing Product purchased or otherwise obtained an authentic
12
     unit of the Subject Design from one of Plaintiff’s customers for same and then
13
     unlawfully and willfully copied, reproduced and exploited the Subject Design to
14
     create the Infringing Product.
15
          38.Upon discovering the infringement, Plaintiff served a written cease and
16
     desist notice on PRANA and COLUMBIA, provided them with a copy of its
17
     registration for the Subject Design, and demanded that they cease their marketing
18
     and sales of the Infringing Product and account for all units sold. PRANA and
19
     COLUMBIA responded by stating:
20
          • “The threat isn’t credible because there is no evidence your client is the
21
              author. In fact, it appears your client is not the author. It’s easy to claim
22
              authorship and get a copyright registration but attempting to enforce a
23
              registration based on a false representation is a different matter. In that case
24
              we would seek reimbursement of our costs and attorneys fees as well as
25
              consider all other applicable countermeasures. It would be very unwise to
26
              knowingly file a false claim.”
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 1         • “Honestly, if this appears to be a “stick up” we will not agree to settle even
 2              if it would cost less than fighting. If you haven’t already looked, you will
 3              see Columbia and its subsidiaries are not afraid to litigate and will appeal
 4              unfavorable judgments even if we must spend many times the amount at
 5              issue.”
 6         • “Making a false representation in an application to the Copyright Office not
 7              only makes the copyright unenforceable by the claimant, it is a crime.
 8              “Any person who knowingly makes a false representation of a material fact
 9              in the application for copyright registration provided for by section 409, or
10              in any written statement filed in connection with the application, shall be
11              fined not more than $2,500.” 18 U.S.C. § 506(e) If we have misunderstood
12              this situation please explain and provide evidence to the contrary.
13              Otherwise, we will consider this matter settled.”
14                                   FIRST CLAIM FOR RELIEF
15               (For Copyright Infringement – Against All Defendants, and Each)
16         39.Plaintiff repeats, realleges, and incorporates herein by reference as though
17   fully set forth, the allegations contained in the preceding paragraphs of this
18   Complaint.
19         40.The exemplars pictured in this Complaint are non-inclusive, and allegations
20   and claims made herein are made as to any and all of Defendants, and each of their,
21   uses, exploitations, and products that incorporate or bear Subject Design or a copy
22   thereof.
23         41. Plaintiff is informed and believes and thereon alleges that Defendants, and
24   each of them, had access to Subject Design including, without limitation, through (a)
25   access to Plaintiff’s design catalogue and products; (b) access to websites and other
26   stores selling Plaintiff’s product; and (c) access to the internet. Access is also
27

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 1   established by the striking similarity between Plaintiff’s artwork and the
 2   corresponding artwork on Defendants’, and each of their, infringing product.
 3         42. Plaintiff is informed and believes and thereon alleges that one or more of
 4   the Defendants manufactures apparel and/or is an apparel vendor. Plaintiff is further
 5   informed and believes and thereon alleges that said Defendant(s) has an ongoing
 6   business relationship with Defendant retailers, and each of them, and supplied
 7   products to said retailers, which products infringed Plaintiff’s rights in the Subject
 8   Design in that said products bore a design that was virtually identical or substantially
 9   similar to the Subject Design, or was an illegal derivation or modification thereof.
10         43. Plaintiff is informed and believes and thereon alleges that Defendants, and
11   each of them, infringed Plaintiff’s copyrights by creating, making, and/or developing
12   directly infringing and/or derivative works from the Subject Design and by
13   producing, distributing and/or selling product that infringes the Subject Design
14   through a nationwide network of retail stores, catalogues, and through websites.
15         44. Due to Defendants’ acts of infringement, Plaintiff has suffered substantial
16   damages to its business in an amount to be established at trial.
17         45. Due to Defendants’ acts of infringement, Plaintiff has suffered general and
18   special damages in an amount to be established at trial.
19         46. Due to Defendants’ acts of copyright infringement as alleged herein,
20   Defendants, and each of them, have obtained direct and indirect profits they would
21   not otherwise have realized but for their infringement of the Subject Design. As
22   such, Plaintiff is entitled to disgorgement of Defendant’s profits directly and
23   indirectly attributable to Defendant’s infringement of Plaintiff’s rights in the Subject
24   Design in an amount to be established at trial.
25         47. Plaintiff is informed and believes and thereon alleges that Defendants, and
26   each of them, have committed acts of copyright infringement, as alleged above,
27   which were willful, intentional and malicious, which further subjects Defendants,
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 1   and each of them, to liability for statutory damages under Section 504(c)(2) of the
 2   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 3   per infringement. Within the time permitted by law, Plaintiff will make its election
 4   between actual damages and statutory damages.
 5                               SECOND CLAIM FOR RELIEF
 6            (For Vicarious and/or Contributory Copyright Infringement - Against All
 7                                           Defendants)
 8            48. Plaintiff repeats, realleges, and incorporates herein by reference as though
 9   fully set forth, the allegations contained in the preceding paragraphs of this
10   Complaint.
11            49. Plaintiff is informed and believes and thereon alleges that Defendants
12   knowingly induced, participated in, aided and abetted in and profited from the illegal
13   reproduction and/or subsequent sales of product featuring the Subject Design as
14   alleged herein.
15            50. Plaintiff is informed and believes and thereon alleges that Defendants, and
16   each of them, are vicariously liable for the infringement alleged herein because they
17   had the right and ability to supervise the infringing conduct and because they had a
18   direct financial interest in the infringing conduct.
19            51. By reason of the Defendants’, and each of their, acts of contributory and
20   vicarious infringement as alleged above, Plaintiff has suffered and will continue to
21   suffer substantial damages to its business in an amount to be established at trial, as
22   well as additional general and special damages in an amount to be established at
23   trial.
24            52. Due to Defendants’, and each of their acts of copyright infringement as
25   alleged herein, Defendants, and each of them, have obtained direct and indirect
26   profits they would not otherwise have realized but for their infringement of the
27   Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
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 1   directly and indirectly attributable to Defendants’ infringement of Plaintiff’s rights in
 2   the Subject Design, in an amount to be established at trial.
 3         53. Plaintiff is informed and believes and thereon alleges that Defendants, and
 4   each of them, have committed acts of copyright infringement, as alleged above,
 5   which were willful, intentional and malicious, which further subjects Defendants,
 6   and each of them, to liability for statutory damages under Section 504(c)(2) of the
 7   Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00)
 8   per infringement. Within the time permitted by law, Plaintiff will make its election
 9   between actual damages and statutory damages.
10                                 THIRD CLAIM FOR RELIEF
11          (For Violations of the Digital Millennium Copyright Act (17 U.S.C. §1202 –
12                                Against all Defendants, and Each))
13         54. Plaintiff repeats, re-alleges, and incorporates herein by reference as though
14   fully set forth, the allegations contained in the preceding paragraphs of this
15   Complaint.
16         55. Plaintiff is informed and believes and thereon alleges that Defendants, and
17   each of them, violated 17 U.S.C. §1202 by intentionally removing and/or altering the
18   copyright management information on the Subject Design when it created the
19   Infringing Product and distributing the Infringing Product with knowledge that the
20   copyright management information had been removed or altered without authority of
21   the copyright owner or the law, and distributing and publicly displaying the
22   Infringing Product, knowing that copyright management information had been
23   removed or altered without authority of the copyright owner or the law, and
24   knowing, or, with respect to civil remedies under section 1203, having reasonable
25   grounds to know, that the conduct would induce, enable, facilitate, or conceal an
26   infringement of any right under this title.
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 1        56. Non-inclusive imagery reflecting the removal of the removal of Plaintiff’s
 2   copyright management information and Defendants’ addition of the false copyright
 3   management information is set forth below:
 4                                    Subject Design:
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 1                                   Infringing Product:
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16        57.    Plaintiff is informed and believes and thereon alleges that Defendants,
17   and each of them, knowingly removed and altered the copyright management
18   information from the Subject Design when developing and creating the Infringing
19   Product.
20        58. Defendants violated 17 USC § 1202(a) by providing copyright
21   management information that is false, specifically by adding tags, labels, and/or
22   other insignia and indications to the Infringing Product that attributed the artwork on
23   and design of said product to PRANA and/or COLUMBIA.
24        59. Defendants violated 17 USC § 1202(a) by distributing and/or importing for
25   distribution copyright management information that is false.
26        60. Defendants violated 17 USC § 1202(b) by intentionally removing and/or
27   altering Plaintiff’s copyright management information as set forth on the Subject
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 1   Design, and distributing and/or importing for distribution copyright management
 2   information knowing that the copyright management information has been removed
 3   or altered without authority of the copyright owner or the law, and distributing
 4   and/or importing for distribution copies of the Subject Design in the form of the
 5   Infringing Product, knowing that Plaintiff’s copyright management information has
 6   been removed and/or altered without authority of the copyright owner or the law,
 7   with reasonable grounds to know, that Defendants’ conduct will induce, enable,
 8   facilitate, and/or conceal an infringement of any right under this title.
 9          61.      The above conduct constitutes at least two discrete violations of the
10   Digital Millennium Copyright Act and exposes Defendants, and each of them, to
11   multiple additional and enhanced common law and statutory damages awards, as
12   well as attorneys’ fees and penalties pursuant to 17 USC § 1203 and other applicable
13   law.
14          62.      Plaintiff is informed and believes and thereon alleges that Defendants,
15   and each of their, conduct as alleged herein was willful, reckless, and/or with
16   knowledge, and Plaintiff resultantly seeks enhanced damage and penalties
17                                        PRAYER FOR RELIEF
18   Wherefore, Plaintiff prays for judgment as follows:
19                                        Against All Defendants
20                                 With Respect to Each Claim for Relief
21                a. That Defendants, their agents and employees be enjoined from
22                   infringing Plaintiff’s copyrights in any manner, specifically those for the
23                   Subject Design;
24                b. That Plaintiff be awarded all profits of Defendants plus all losses of
25                   Plaintiff, plus any other monetary advantage gained by the Defendants
26                   through their infringement, the exact sum to be proven at the time of
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 1              trial, or, if elected before final judgment, statutory damages as available
 2              under the Copyright Act, 17 U.S.C. §§ 505, 1202, et seq.;
 3           c. That Plaintiff be awarded its costs and attorneys’ fees as available under
 4              the Copyright Act U.S.C. §§ 505, et seq.;
 5           d. That Plaintiff be awarded its costs, attorneys’ fees, and statutory
 6              damages under 17 USC § 1203.
 7           e. That Defendants, and each of them, account to Plaintiff for their profits
 8              and any damages sustained by Plaintiff arising from the foregoing acts
 9              of infringement;
10           f. That Plaintiff be awarded pre-judgment interest as allowed by law;
11           g. That Plaintiff be awarded the costs of this action; and
12           h. That Plaintiff be awarded such further legal and equitable relief as the
13              Court deems proper.
14
         PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE
15   PURSUANT TO FED. R. CIV. P. 38 AND THE 7TH AMENDMENT TO THE
16   UNITED STATES CONSTITUTION.
                                                      Respectfully submitted
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     Dated: May 16, 2018                   By:        /s/ Scott Alan Burroughs
19                                                    Scott Alan Burroughs, Esq.
20                                                    Justin M. Gomes, Esq.
                                                      DONIGER / BURROUGHS
21                                                    Attorneys for Plaintiff
22                                                    FRENCH KNOT, LLC

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